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AO 245B (CASDRev. 081l3) Judgment in a Criminal Case for Revocations                                         r-----_.._
                                                                                                                  JUN 0 6 2016
                                     UNITED STATES DISTRICT COU T
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                                           SOUTHERN DISTRICT OF CALIFORNIA                            SOUTHF:HN ')i'Cr;1i;~T '" (",,:,~ ,'.r-'RNIA
                                                                                                      BY                    ~ "t4..:t(.:/;:,'UTY
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE                                 --­
                                                                     (For Revocation of Probation or Supervised Release)
                                v.                                   (For Offenses Committed On or After November I, 1987)
               DONALD JOSEPH BANDY (9)
                                                                        Case Number:        02CR0625-L

                                                                     RICHARD DEKE FALLS OF FEDERAL DEFENDERS
                                                                     Defendant's Attorney
REGISTRATION NO.                 82320198
o
THE DEFENDANT:
IZI   admitted guilt to violation of allegation(s) No.     ONE (l)
                                                           ----~~----------------------------------------
      was found gUilty in violation of allegation(s) No.                                               after denial of gUilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                    Nature of Violation
                                     Unlawful use of a controlled substance andlor Failure to Test; VCCA (Violent Crime Control
                                     Act)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.




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DEFENDANT:                DONALD JOSEPH BANDY (9)                                                  Judgment - Page 2 of 2
CASE NUMBER:              02CR0625-L

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) DAYS




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
            at
                 ------------------ A.M.                      on
                                                                   ------------------------------------
            as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       o    on or before
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to ------------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                           02CR0625-L
